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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                             )
  DELORES BENNEFIELD and                     )    Case Number: 10-00167
  DELORES WALKER                             )
           Plaintiffs,                       )
                                             )
                   vs.                       )
                                             )
  PROFESSIONAL RECOVERY                      )
  SERVICES, INC., a/k/a PRS                  )
              Defendant,                     )
                                             )


                                 NOTICE OF DISMISSAL


         PLEASE TAKE NOTICE that plaintiffs, Delores Bennefield and Delores Walker,

  pursuant to Rule 41(a)(1)(i) of the Rules of the United States District Court, hereby

  dismisses the action captioned above, with prejudice.




                                BY:_/s/ Bruce K. Warren
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